Case 2:06-cr-20234-MAG-RSW ECF No. 313, PageID.2252 Filed 05/12/11 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff/Respondent,
                                                      Criminal No. 06-20234
 v.                                                   Civil No. 10-14858

 LABARON WARDLAW,                                     Hon. John Corbett O’Meara

       Defendant/Petitioner,
 _________________________________/


                              ORDER DENYING DEFENDANT’S
                              MOTION TO VACATE SENTENCE

        Before the court is Defendant Labaron Wardlaw’s motion to vacate sentence, filed

 December 6, 2010. The government responded on January 4, 2011. Pursuant to Local Rule

 7.1(e)(1), the court will decide this matter on the briefs and without oral argument.

        On August 9, 2007, Defendant pleaded guilty to Count One of the indictment, which

 charged him with conspiracy to possess with intent to distribute, and conspiracy to distribute,

 crack cocaine in violation of 21 U.S.C. § 846. The plea was entered pursuant to a Rule 11 plea

 agreement, which anticipated a sentence of 360 months to life imprisonment. The government

 filed a motion for downward departure, which was granted by the court at sentencing. On May

 13, 2008, the court sentenced Defendant to 180 months imprisonment. Defendant did not

 appeal, as he waived his right to do so in the plea agreement.

        Defendant seeks a reduction in his sentence based upon the Fair Sentencing Act of 2010,

 Pub. L. No. 111-220, 124 Stat. 2372 (2010). This statute, which amends 21 U.S.C. § 841 and §

 960, reduces the penalties associated with possessing certain amounts of crack cocaine; for

 example, it raises the threshold for imposition of a 60-month statutory minimum prison sentence
Case 2:06-cr-20234-MAG-RSW ECF No. 313, PageID.2253 Filed 05/12/11 Page 2 of 2




 from five grams of crack cocaine to 28 grams. The statute is not, however, retroactive. United

 States v. Carradine, 621 F.3d 575, 580 (6th Cir. 2010). Rather, the court “must apply the penalty

 provision in place at the time [Defendant] committed the crime in question,” which in this case

 was 2005 and 2006. Id. Because the Fair Sentencing Act of 2010 does not apply in this case,

 the court has no authority to modify Defendant’s sentence. See 18 U.S.C. § 3582(c).

        Accordingly, IT IS HEREBY ORDERED that Defendant’s motion to vacate sentence is

 DENIED.

                                              s/John Corbett O’Meara
                                              United States District Judge

 Date: May 12, 2011




         I hereby certify that a copy of the foregoing document was served upon counsel of record
 on this date, May 12, 2011, using the ECF system, and upon Labaron Wardlaw at FCI
 Victorville, Federal Correctional Institution, P.O. Box 5300 Adelanto, CA 92301 by first-class
 U.S. mail.

                                              s/William Barkholz
                                              Case Manager




                                                -2-
